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                  EXHIBIT 6
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 1          UNITED STATES DISTRICT COURT

 2          F O R T H E W E S T E R N D I S TR I C T O F N E W Y O R K

 3          ---------------------------------------------

 4          BLACK LOVE RESISTS IN THE RUST, et al.,
            individually and on behalf of a class of
 5          a l l o t h e r s s i mi l a r l y s i t u a t e d ,

 6                                                    Plaintiffs,

 7           -vs-                                                 1:18-cv-00719-CCR

 8          CITY OF BUFFALO, N.Y., et al.,

 9                                                    Defendants.
             - - - - - - - - - - - - - - - - - - -- - - - - - - - - - - - - - - - - - - - - - - - - -
10

11

12              ORAL EXAMINATION OF DANIEL DERENDA

13                        APPEARING REMOTELY FROM

14                            BUFFALO, NEW YORK

15

16

17                            November 10, 2021

18                            At 9:00 a.m.

19                            Pursuant to notice

20

21          REPORTED BY:

22          Rebecca L. DiBello, RPR, CSR(NY)

23          APPEARING REMOTELY FROM ERIE COUNTY, NEW YORK




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                                                                          2




 1          R E M O T E        A P P E A R A N C E S

 2          APPEARING FOR THE PLAINTIFFS:

 3                             NATIONAL CENTER FOR LAW AND
                               ECONOMIC JUSTICE
 4                             BY:  CLAUDIA WILNER, ESQ.,
                               275 Seventh Avenue, Suite 1506
 5                             New York, New York 10001
                               (212) 633-6967
 6
                               CENTER FOR CONSTITUTIONAL RIGHTS
 7                             B Y : A. C H I N Y E R E E Z I E , E S Q .
                               666 Broadway, 7th Floor
 8                             New York, New York 10012
                               (212) 614-6475
 9
            APPEARING FOR THE DEFENDANTS:
10
                               CITY OF BUFFALO LAW
11                             DEPARTMENT
                               BY: ROBERT E. QUINN,
12                             A S S I S T A N T C O R P O R AT I O N C O U N S E L
                               1100 City Hall
13                             65 Niagara Square
                               Buffalo, New York 14202
14                             (716) 851-4326

15

16          ALSO PRESENT:

17                  KARINA TEFFT, ESQ.,
                    ANJANA  MALHOTRA, ESQ.,
18                  RANIT PATEL
                    National Center for Law and Economic
19                  Justice

20
21

22

23




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                                                                           16

                                     DANIEL DERENDA


 1          32 years.           Commissioner of police since 2010.

 2      Q. O k a y .    So you were commissioner from 2010

 3          through 2018 when you left?

 4      A. T o J a n u a r y 1 8 .

 5      Q. O k a y .    And then after January 18th you had the

 6          employment we discussed?

 7      A. C o r r e c t .

 8      Q. W h a t w a s t h e B P D S t r i k e F o r c e ?

 9                     MR. QUINN:        Object to the form.              You can

10          answer.

11      A. S t r i k e F o r c e w a s a u n i t t h a t w e p u t t o g e t h e r

12          to go and basically supplement other districts

13          so they can go in.                 They weren't tied to a

14          radio.           They were in there to be proactive

15          going after areas where we had spikes in

16          crime.

17      Q. A n d I ' m s o r r y , M r . D e r e n da .    You froze for a

18          minute so I couldn't hear your answer.

19      A. S t r i k e F o r c e w a s t h e u n i t w e p u t t o g e t h e r - -

20                     MR. QUINN:        Did you get the answer,

21          Rebecca?           I want to make sure we're not missing

22          things.

23                      (Record read back by reporter)




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                                                                              21

                                     DANIEL DERENDA


 1      Q. O k a y .    And how did performing traffic

 2          i n t e r d i c t i o n s o r r o a d b l o ck s h e l p t h e S t r i k e

 3          Force to fulfill its mission?

 4                     MR. QUINN:          Object to the form.                  You can

 5          answer.

 6      A. W e l l , t h e r o a d b l o c ks w e r e p r i m a r i l y f o r

 7          traffic safety, but what they also

 8          accomplished is high visibility.                          When they're

 9          out there they're being seen and that's part

10          of their mission.               It isn't written down.

11          It's the high visibility of the Strike Force

12          because in my opinion I'd rather stop a crime

13          from ever happening than investigate one

14          later, so the more visible officers are, less

15          likely that a crime will be occurring in front

16          o f t h e m , b u t I a l w ay s t h o u g h t t r a f f i c

17          roadblocks, again traffic safety with the

18          positive benefit of high visibility.

19      Q. I f y o u n o t i c e a b i t f u r t h e r d o w n i t s a y s t h a t

20          the chiefs will develop a weekly list of top

21          five district hotspots to be targeted by the

22          Strike Force.            ECAC will develop analysis

23          b a s e d o n t a r g e t a r ea s .     Sorry.        ECAC will




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                                                                             50

                                     DANIEL DERENDA


 1      Q. O n e o f t h e t o o l s t he S t r i k e F o r c e u s e d t o

 2          achieve its mission was traffic checkpoints,

 3          correct?

 4                    MR. QUINN:          Object to the form.                    You can

 5          answer.

 6      A. P a r t o f t h e i r j o b f u n c t i o n w a s t o d o t r a f f i c

 7          c h e c k p o i n t s f o r t r af f i c s a f e t y a n d h i g h

 8          visibility.

 9      Q. A n d t h e c h e c k p o i n t s w e r e l o c a t e d i n c r i m e

10          hotspots?

11                    MR. QUINN:          Object to the form.                    You can

12          answer.

13      A. T h e y w e r e l o c a t e d i n a r e a s w h e r e t h e o f f i c e r s

14          were assigned.

15      Q. A n d w h a t f i r s t g a v e y o u t h e i d e a t o h a v e t h e

16          Strike Force do random checkpoints?

17      A. W e u s e d t o d o t h e r o a d b l o c k s w i t h t h e M R U .

18          Again, high visibility, traffic safety and so

19          we had the Strike Force do it, too.

20      Q. A n d t h e n b e f o r e t h e S t r i k e F o r c e o f f i c i a l l y

21          started did you have conversations with Mayor

22          Brown specifically around the idea that the

23          Strike Force would run roadblocks?




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